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                      EXHIBIT 4
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     13   Masimo Corporation and Cercacor Laboratories, Inc.
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     15                    IN THE UNITED STATES DISTRICT COURT
     16                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    SOUTHERN DIVISION
     17
          MASIMO CORPORATION,                       ) Case No. 8:20-cv-00048-JVS-JDE
     18   a Delaware corporation; and               )
          CERCACOR LABORATORIES, INC.,              ) JOINT STIPULATION
     19   a Delaware corporation                    ) REGARDING PLAINTIFFS’
                                                    ) MOTION FOR A PROTECTIVE
     20                Plaintiffs,                  ) ORDER
                                                    )
     21          v.                                 ) [Discovery Document: Referred to
                                                    ) Magistrate Judge John D. Early]
     22   APPLE INC., a California corporation      )
                                                    ) Date:        July 23, 2020
     23                Defendant.                   ) Time:        10:00 a.m.
                                                    ) Ctrm:        6A
     24                                             )
                                                    ) Discovery Cut-Off:       7/5/2021
     25                                             ) Pre-Trial Conference:    3/21/2022
                                                    ) Trial:                   4/5/2022
     26                                             )
                                                    ) Hon. James V. Selna
     27                                             ) Magistrate Judge John D. Early
                                                    )
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      1          behalf of a Party or a competitor of a Party and such proposed
      2          Outside Counsel did not, at the time the lawsuit was filed or within
      3          the previous two (2) years from the date the lawsuit was filed, have
      4          a business or ownership interest in a Party (i.e., was not a Board
      5          member, Director, officer, employee, or hold a title with a Party).
      6          Additionally, whether Plaintiffs’ trade secret disclosure under
      7          California Code of Civil Procedure Section 2019.210 is designated
      8          “CONFIDENTIAL” or “CONFIDENTIAL – ATTORNEYS’
      9          EYES ONLY,” access to said disclosure shall be permitted for
     10          three (3) Apple House Counsel.
     11          1.    Plaintiffs’ Position
     12          Plaintiffs again propose language similar to the language this Court
     13    adopted in True Wearables. Compare Powell Decl., Ex. 2 (Plaintiffs’ proposal)
     14    at 16 with Ex. 13 (True Wearables) at 8. Apple replaced that language with a
     15    proposal that (a) seeks to prevent certain of Plaintiffs’ outside counsel from
     16    accessing “Highly Confidential” information, yet (b) seeks to allow three of
     17    Apple’s in-house counsel access to Plaintiffs’ “Highly Confidential” trade secret
     18    information in Plaintiffs’ Section 2019.210 statement. Id., Ex. 4 at 17. The
     19    Court should adopt Plaintiffs’ proposal on both issues.
     20                 a.    The Court Should Reject Apple’s “Relationship”
     21                       Restriction
     22          Apple proposes language that is nearly identical to the language this
     23    Court previously rejected in True Wearables. In that case, the defendant asked
     24    this Court to allow access only to individuals who, within two years prior to
     25    filing suit, did “not have a business or ownership interest in a Party (i.e., not
     26    competitive decision makers, Board members, Directors, employees, owners,
     27    shareholders, or affiliates of a Party).”     Powell Decl., Ex. 12 at 9.     The
     28    defendants were trying to prevent Stephen Jensen from participating in the case.

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      1    After extensive briefing, this Court rejected the defendants’ proposal and
      2    adopted language similar to the language Plaintiffs propose in this case, which
      3    bars only “competitive decisionmakers.” Id., Ex. 13 at 8. This Court then
      4    rejected the defendants’ direct challenge to Jensen and concluded he was not a
      5    “competitive decisionmaker.” Id., Ex. 14 at 5-6.
      6          Here, Apple proposes language that is nearly identical to the language this
      7    Court previously rejected. In particular, Apple seeks to allow access only to
      8    individuals who, within two years prior to filing suit, did not “have a business or
      9    ownership interest in a Party (i.e., was not a Board member, Director, officer,
     10    employee, or hold a title with a Party).” Powell Decl., Ex. 4 at 17. Apple has
     11    not explained why this provision is necessary or provided any factual or legal
     12    basis, whatsoever, for this provision. Indeed, Apple recently stipulated to a
     13    protective order without such language. See Pinn (Powell Decl., Ex. 17) at 8. It
     14    appears Apple is proposing this unusual language to exclude Jensen because
     15    Apple added the language to its proposal as the parties in True Wearables were
     16    litigating the same issue. Moreover, it does not appear that any of Plaintiffs’
     17    other outside counsel could be impacted by this provision.             Thus, while
     18    Plaintiffs are in the dark as to Apple’s reason or basis for this provision,
     19    Plaintiffs will direct their arguments towards Jensen in particular.
     20          To restrict access to highly confidential information, Apple has the
     21    burden of showing an unacceptably high risk of inadvertent disclosure. See
     22    Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992).
     23    Apple also bears “the burden of showing that specific prejudice or harm will
     24    result from the disclosure of each document (or item of information) that it
     25    seeks to protect.” Nutratech, Inc. v. Syntech (SSPF) Int’l, Inc., 242 F.R.D. 552,
     26    554 (C.D. Cal. 2007) (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d
     27    1122, 1130 (9th Cir. 2003)). The district court must balance the risk of the
     28    disclosure against the risk to the receiving party that the denial of access would

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      1    impair prosecution of its claims. Brown Bag, 960 F.2d at 1470; see also In re
      2    Deutsche Bank, 605 F.3d 1373, 1380 (Fed Cir. 2010). Apple cannot satisfy any
      3    of those requirements here.
      4                        i.    Apple Cannot Show Jensen Will Inadvertently
      5                              Disclose Protected Material
      6          To evaluate the risk of inadvertent disclosure, the Court should examine
      7    “the factual circumstances surrounding [Jensen’s] activities, association, and
      8    relationship with a party.” U.S. Steel, 730 F.2d at 1468. A “crucial factor” is
      9    whether Jensen is “involved in ‘competitive decisionmaking’; that is advising
     10    on pricing or design ‘made in light of similar or corresponding information
     11    about a competitor.’” Brown Bag, 960 F.2d at 1470 (quoting U.S. Steel, 730
     12    F.2d at 1468 n.3). Here, this Court recently determined Jensen is not involved
     13    in “competitive decisionmaking” for Plaintiffs. Powell Decl., Ex. 14 at 5-6; see
     14    also Jensen Decl. ¶ 10; Kiani Decl. ¶ 6.
     15          A protective order also mitigates risk because courts presume attorneys
     16    will abide by protective orders and not expose themselves to contempt
     17    sanctions. Coventry First LLC v. 21st Servs., No. 05CV2179-IEG (NLS), 2005
     18    WL 8173350, at *5 (S.D. Cal. Dec. 22, 2005) (“[I]n the absence of any actual
     19    evidence of bad faith, the Court declines to presume [the attorneys] will disclose
     20    [the] confidential information, thereby breaching the protective order and
     21    exposing themselves to contempt sanctions.”) (citing Truswal Sys. Corp. v.
     22    Hydro-Air Eng’g, Inc., 813 F.2d 1207, 1211 (Fed. Cir. 1987)). Not only have
     23    the parties agreed to a protective order, they even agree on barring Jensen and
     24    the rest of Plaintiffs’ litigation team from engaging in patent prosecution.
     25          At most, Apple may show Jensen is in contact with corporate officers
     26    who make competitive decisions. But that is not enough. See Matsushita Elec.
     27    Indus. Co. v. United States, 929 F.2d 1577, 1580 (Fed. Cir. 1991) (finding
     28    “largely irrelevant” regular contact with corporate officials who make policy or

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      1    competitive decisions). Rather, “the factual circumstances surrounding each
      2    individual counsel’s activities, association, and relationship with a party . . .
      3    must govern any concern for inadvertent or accidental disclosure.” U.S. Steel,
      4    730 F.2d at 1468 (“Whether an unacceptable opportunity for inadvertent
      5    disclosure exists, however, must be determined, as above indicated, by the facts
      6    on a counsel-by-counsel basis”).
      7          Interaction with decision makers is insufficient because the issue does not
      8    turn on the functions of the people a lawyer meets with, but on the functions of
      9    the lawyer. As the Federal Circuit observed, “the standard is not ‘regular
     10    contact’ with other corporate officials who make ‘policy,’ or even competitive
     11    decisions, but ‘advice and participation’ in ‘competitive decisionmaking.’” Id.
     12    at 1580.   Lead litigation lawyers regularly report to boards and corporate
     13    officers about ongoing litigation, despite the lawyers having access to highly
     14    confidential information and the boards and officers engaging in competitive
     15    decision-making. The point is that the people who have access to the highly
     16    confidential information are not the people making the competitive decisions. If
     17    the standard were physical proximity to, or regular interaction with, competitive
     18    decision makers, no lead litigation counsel would ever see confidential
     19    information.
     20          Apple cannot meet its burden of showing Jensen, or any other lawyer at
     21    Knobbe Martens, poses an unacceptably high risk of inadvertent disclosure.
     22                       ii.   Apple Cannot Show It Will Suffer Harm
     23          Apple also has not even attempted to meet its “burden of showing that
     24    specific prejudice or harm will result from the disclosure of each document (or
     25    item of information) that it seeks to protect.” Nutratech, 242 F.R.D. at 554.
     26    Apple’s proposed language does not specify any particular information Jensen
     27    should be excluded from viewing. Apple also failed to explain any particular
     28    harm that Apple would suffer from Jensen viewing such information.

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      1                        iii.      Apple’s Restriction Would Prejudice Plaintiffs
      2            Exclusion of Jensen would also prejudice Plaintiffs. See In re Deutsche
      3    Bank, 605 F.3d 1373, 1380 (Fed. Cir. 2010) (“[T]he district court must balance
      4    [the risk of disclosure] against the potential harm to the opposing party from
      5    restrictions on that party’s right to have the benefit of counsel of its choice”).
      6    Jensen has served as Masimo’s outside counsel for over twenty-five years. See
      7    Kiani Decl. ¶ 4; Jensen Decl. ¶ 2. During that time, Jensen has represented
      8    Plaintiffs in numerous cases involving Masimo’s direct competitors and the
      9    exchange of highly confidential information. Jensen Decl. ¶ 3. Plaintiffs rely
     10    heavily on Jensen to evaluate and manage all of their intellectual property
     11    litigation and other litigation concerning the companies’ technologies. Id. ¶¶ 6-
     12    7; Kiani Decl. ¶¶ 4-5. Over the years, Jensen has gained extensive knowledge
     13    of Plaintiffs’ technology. This has given him a unique ability to readily discern
     14    when others are using that technology, assuming, of course, he can see the
     15    relevant evidence. No other lawyer has Jensen’s breadth of understanding of
     16    Plaintiffs’ technology and trade secrets. Kiani Decl. ¶¶ 5, 9; Jensen Decl. ¶ 5-6,
     17    9-10.
     18            Although numerous opponents have tried to deprive Masimo of Jensen’s
     19    leadership in litigation, they have never succeeded. Every court to address this
     20    issue has allowed Jensen access to highly confidential materials or information.
     21    Jensen Decl. ¶ 4.          Indeed, this Court twice rejected the True Wearables
     22    defendants’ attempts to bar Jensen from accessing highly confidential
     23    information. Powell Decl., Exs. 22 and 23. Additionally, Apple’s outside
     24    counsel in this case unsuccessfully attempted to exclude Jensen on behalf of
     25    another client in another case. Id., Ex. 18 at 24-25. This recurrence suggests
     26    that Plaintiffs’ adversaries, including Apple, are well aware that depriving
     27    Plaintiffs of their experienced choice of counsel would severely prejudice
     28    Plaintiffs.

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      1          Jensen is accustomed to abiding by protective orders, appropriately
      2    handling and maintaining designated materials, and ensuring that he never
      3    reveals those materials, or the confidential information they contain, to his
      4    clients. Jensen Decl. ¶¶ 5 and 9; Kiani Decl. ¶ 10. Moreover, when appropriate,
      5    Jensen uses the best safeguard possible—he refrains from engaging in any
      6    discussion that could arguably implicate any information revealed to him under
      7    a protective order—as should any other outside lawyer. Jensen Decl. ¶ 5; Kiani
      8    Decl. ¶ 10. Because the actual prejudice to Plaintiffs outweighs any alleged—
      9    although unexplained—harm to Apple, this Court should reject Apple’s
     10    proposed restriction.
     11                 b.     The Court Should Reject Apple’s Attempt to Provide
     12                        Plaintiffs’ Trade Secrets To Its In-House Counsel
     13          Apple argued Plaintiffs’ Section 2019.210 disclosure must be detailed and
     14    that this particular case requires a “more exacting level of particularity” than
     15    standard trade secret cases. Powell Decl., Ex. 25 at 21 n.1. Despite advocating
     16    for such a high standard, Apple insists that three of its in-house lawyers should
     17    have access to the highly confidential trade secrets set forth in Plaintiffs’
     18    Section 2019.210 disclosure. Id., Ex. 4 at 17. Apple provides no support or
     19    justification for requiring Plaintiffs to disclose trade secrets to Apple
     20    employees.     Apple’s proposal thus creates a significant risk of further
     21    misappropriation of Plaintiffs’ trade secrets.
     22          “Requiring a party to rely on its competent outside counsel does not
     23    create an ‘undue and unnecessary burden’” See Intel Corp. v. VIA Techs., Inc.,
     24    198 F.R.D. 525, 529 (N.D. Cal. 2000) (rejecting Intel’s request to allow its in-
     25    house counsel access to highly confidential material because Intel was
     26    represented by competent outside counsel); see also CytoSport, Inc. v. Vital
     27    Pharm., Inc., 2010 WL 1904840, at *2 (E.D. Cal. May 10, 2010) (rejecting
     28    request for outside counsel to view confidential material because forcing

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      1    defendant to “rely on competent outside counsel does not create an ‘undue and
      2    unnecessary burden,’ sufficient to demonstrate actual prejudice”). Here, Apple
      3    is represented by Gibson Dunn, which claims it has 20 offices, 1300+ lawyers,
      4    and “129 years of excellence.”        See https://www.gibsondunn.com (accessed
      5    June 19, 2020). Apple will suffer no prejudice from denying Apple’s in-house
      6    counsel access to Plaintiffs’ trade secrets.
      7          Apple’s proposal also highlights its continued lopsided approach to
      8    litigating this case.    Apple is simultaneously seeking to prevent one of
      9    Plaintiffs’ outside counsel from accessing all highly confidential information
     10    while providing three of Apple’s in-house counsel access to Plaintiffs trade
     11    secrets. See Powell Decl., Ex. 4 at 17. Nothing supports such a one-sided and
     12    inequitable proposal. The Court should adopt Plaintiffs’ proposal.
     13          2.     Defendant’s Position
     14          The parties have two disputes over which individuals should receive
     15    access to another party’s highly confidential information. First, Apple seeks
     16    entry of a protective order that denies access of its highly confidential and
     17    sensitive “attorneys’ eyes only” documents to a party’s outside counsel who are
     18    competitive decision-makers or have served on a party’s Board of Directors
     19    within the last two years. This request is a reasonable and necessary measure to
     20    protect Apple’s valuable technical information from inadvertent disclosure or
     21    misuse. Second, to the extent Plaintiffs replead their trade secret claim, Apple
     22    seeks to have a limited number of its in-house counsel receive access to
     23    Plaintiffs’ alleged trade secrets, given the integral role in-house counsel is
     24    playing in the defense of this matter.
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   1                a.     This Court Should Bar Those Who are Either
   2                       Competitive Decision-Makers Or Are Present Board
   3                       Members Or Were Board Members Within The Last
   4                       Two Years From Accessing Confidential Materials
   5         The parties agree that this action will involve disclosure of trade secret
   6   and other confidential and proprietary information; the parties disagree as to
   7   whether outside counsel who are competitive decision-makers or serve on a
   8   party’s Board of Directors should be permitted access to highly confidential
   9   documents designated by Apple as “Attorneys’ Eyes Only.” In support of their
  10   argument that such persons should have access, Plaintiffs rely on their briefing
  11   in the True Wearables case. However, Apple was not a party to that briefing
  12   and Plaintiffs’ attempts to liken this case to True Wearables fails in any event.
  13   In True Wearables, Plaintiffs asserted trade secret and infringement claims
  14   against the six-year old medical device start-up True Wearables, Inc. This is an
  15   inapposite comparison to the present case with Apple, one of the largest
  16   technology companies in the world. The accused products in this case, the
  17   Apple Watch Series 4 and 5, are extremely successful and valuable products
  18   already in the wearables space—far different than the fledgling startup in True
  19   Wearables.
  20         Ninth Circuit precedent is clear that district courts may preclude access to
  21   a party’s confidential and proprietary information from those involved in an
  22   opposing party’s competitive decision-making.           Brown Bag Software v.
  23   Symantec Corp., 960 F.2d 1465, 1470 (9th Cir. 1992). The Federal Circuit has
  24   defined what “competitive decision-making” means,8 and, to avoid any doubt as
  25
  26         8
               Competitive decision-making is “[s]horthand for a counsel’s activities,
  27   association, and relationship with a client that are such as to involve counsel’s
       advice and participation in any or all of the client’s decisions . . . made in light
  28   of similar or corresponding information about a competitor.” See U.S. Steel

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   1   to its meaning, Apple’s proposal explicitly incorporates that definition. Mr.
   2   Jensen, is a long-time contributor to Plaintiffs’ competitive decision-making.
   3   Mr. Jensen’s extensive participation in Plaintiffs’ business enterprises creates an
   4   untenable risk that his access to Apple’s confidential information will lead to the
   5   inadvertent disclosure to those most capable of misusing Apple’s information.
   6   But excluding competitive decision makers alone is not enough to resolve the
   7   dispute, because Plaintiffs argue that one of their outside counsel, Mr. Jensen,
   8   should not meet the Court’s definition of a competitive decision maker, a
   9   position that Apple strongly disputes. Rather than defer that issue to a later
  10   discovery dispute, Apple’s proposed protective order also explicitly excludes
  11   current Board Members and those that have served in that role within the last
  12   two years, which would exclude Mr. Jensen since he is a current member of the
  13   Board of Directors of Plaintiff Cercacor.        Restricting access from Board
  14   members has been consistently upheld in cases in which courts have been asked
  15   to impose those restrictions because participation at Board meetings “present[s]
  16   an unacceptable opportunity for the inadvertent disclosure of confidential
  17   information” because of the conflicting duty of disclosure inherent in Board
  18   service and an individual’s consent to abide by a protective order. See, e.g.,
  19   Meridian Enters. Corp. v. Bank of Am. Corp., 2008 WL 474326, at *4 (E.D.
  20   Mo. Feb. 15, 2008); Norbrook Labs., Ltd. v. G.C. Hanford Mfg. Co., 2003 WL
  21   1956214 (N.D.N.Y. April 24, 2003).
  22         Here, good cause exists for granting Apple’s protective order. First, the
  23   nature and pervasive scope of Mr. Jensen’s involvement with Plaintiffs’
  24   business enterprises cannot be adequately separated from his concurrent role in
  25   Plaintiffs’ wider litigation licensing business in a way that will otherwise ensure
  26   the confidentiality of Apple's information. Second, Mr. Jensen’s service on
  27
  28   Corp. v. United States, 730 F.2d 1465, 1468 & n.3 (Fed. Cir. 1984).

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   1   Plaintiff Cercacor’s Board of Directors and its attendant fiduciary duty to that
   2   Board evince the conflict of interests inherent in allowing him access to Apple’s
   3   confidential trade secret information. Third, the balance of hardships clearly
   4   favors Mr. Jensen’s exclusion in this case. The harm to Apple of inadvertent
   5   disclosure of its most confidential information to Plaintiffs is substantial, given
   6   that this information is its “crown jewel,” disclosure to other companies of
   7   which would create substantial harm to Apple.          See Corp. Couns. Gd. To
   8   Software Trans. § 8:2; see also, e.g., buySAFE, Inc. v. Google, Inc., No. 3:13-
   9   CV-781, 2014 WL 2468553, at *2 (E.D. Va. June 2, 2014). By contrast,
  10   Mr. Jensen’s exclusion would pose little harm to Plaintiffs, who employ a
  11   variety of highly competent counsel (over fifteen partners and associates have
  12   appeared on filings and meet and confers in this case) to represent them in this
  13   and other cases.    Accordingly, an order preventing Mr. Jensen and others
  14   similarly situated from viewing Apple’s confidential information will not
  15   meaningfully impair Plaintiffs’ ability to conduct this litigation; it will simply
  16   prevent the inadvertent misuse or disclosure in other existing or potential
  17   litigation of confidential information obtained from this litigation.
  18                       i.    The Relationship Between Mr. Jensen And
  19                             Plaintiffs Presents An Unacceptable Risk Of
  20                             Inadvertent Disclosure Of Confidential
  21                             Information In This Case
  22         The decision to exclude counsel from discovery requires an assessment in
  23   each case of “the risk of inadvertent disclosure.” In re Matsushita Electric
  24   Industrial Co. v. United States, 929 F.2d 1577, 1579 (Fed. Cir. 1994) (quoting
  25   U.S. Steel Corp., 730 F.2d at 1468). That risk, in turn, “must be determined . . .
  26   by the facts on a counsel-by-counsel basis.” Id. Although the Federal Circuit
  27   has stated that the key inquiry in evaluating that risk involves determining
  28   whether the lawyer is involved in his client's “competitive decision making,” it

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   1   has also made clear that that term is simply “shorthand” for broader
   2   considerations relevant to assessing the risk of inadvertent disclosure, such as “a
   3   counsel’s activities, association, and relationship with a client that are such as to
   4   involve counsel's advice and participation in any or all of the client's decisions.”
   5   U.S. Steel Corp. 730 F.2d at 1468 n.3. As one court has noted, “involvement in
   6   competitive decisionmaking, while an important consideration [under U.S. Steel
   7   Corp.], is not necessarily the exclusive one,” and proper analysis under U.S.
   8   Steel involves a “careful and comprehensive inquiry” into the lawyer's “role in
   9   the affairs of [his client's] company, his association and relationship with those
  10   in the corporate hierarchy who are competitive decisionmakers, and any other
  11   factor that enhances the risk of inadvertent disclosure.” Autotech Techs. Ltd.
  12   P’ship v. AutomationDirect.com, Inc., 237 F.R.D. 405, 408 (N.D. Ill. 2006).
  13         Therefore, the determination of whether Mr. Jensen may be excluded
  14   from access to confidential information involves a factual inquiry into whether
  15   his “activities, association, and relationship” with Plaintiffs “are such as to
  16   involve counsel’s advice and participation in any or all” of Plaintiffs’ decisions
  17   in operating their licensing business. U.S. Steel Corp., 730 F.2d at 1468 n.3.
  18         Over the course of Mr. Jensen’s longstanding representation of Plaintiffs,
  19   Mr. Jensen has served as both a day-to-day and long-term strategy advisor. He
  20   has evaluated the companies’ intellectual property portfolios and overseen legal
  21   due diligence, and he also served as Masimo’s acting Senior Vice President of
  22   OEM Business, Business Development and General Counsel. See Biography of
  23   Steve Jensen, accessible at https://www.knobbe.com/attorneys/steve-jensen. It
  24   was in this capacity that Mr. Jensen made business decisions relating to the
  25   manufacture of Masimo’s equipment and components.
  26         In a 2020 declaration describing Mr. Jensen’s role as Plaintiffs’ attorney,
  27   the former Chief Technology Officer at Masimo Corporation stated Mr. Jensen
  28   “would advise Masimo about when to file patent applications, where to file

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   1   patent applications, whether to pursue continuations, and other decisions related
   2   to creating patent portfolio value.” Masimo Corp. v. True Wearables, No. 3:18-
   3   CV-02001-JVS-JDE, Dkt. 82-6, Ex. 6 at ¶ 4 (Mar. 16, 2020).               Indeed,
   4   Mr. Jensen is listed as an attorney of record before the USPTO on each of the
   5   patents-in-suit and thus, may become a witness in this litigation, as the
   6   prosecuting patent attorney may sometimes be deposed regarding the statements
   7   made to the Patent and Trademark Office.
   8         Taken together, these facts create a situation in which Mr. Jensen’s
   9   experience as a business decision-maker is impossible to separate from his role
  10   as Plaintiffs’ outside counsel.     Given the depth of his involvement and
  11   investment in Plaintiffs’ business, Mr. Jensen should not be permitted to access
  12   Apple’s highly confidential information.
  13                      ii.    The Nature of Mr. Jensen’s Service on Cercacor’s
  14                             Board of Directors Conflicts With The Obligation
  15                             To Remain Silent Under A Protective Order
  16         Directors are fiduciaries of a corporation and, as such, occupy positions
  17   of trust and confidence on which corporate officials must rely. In re Allegheny
  18   Int'l, Inc., 954 F.2d 167, 180 (3d Cir. 1992). A significant part of a director’s
  19   duty of loyalty is to disclose to other decision-makers all information in his
  20   possession germane to a transaction at issue. Id.
  21         A Board member’s duty of disclosure arises from a director’s general
  22   duties of care, good faith, and loyalty to the corporation, and the duty of
  23   disclosure requires that directors “disclose fully and fairly all material
  24   information within the board’s control.” Skeen v. Jo-Ann Stores, 750 A.2d 1170
  25   (Del. 2000). The American Bar Association’s Corporate Director’s Guidebook
  26   states that corporate directors have the following duty of disclosure:
  27
                    As fiduciaries, directors have an obligation to take
  28                reasonable steps to ensure that shareholders are

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   1                furnished with all relevant material information known
                    to the directors … . Likewise, directors also have the
   2
                    duty to information their fellow directors and
   3                management about information known to the director
                    that is relevant to corporate decisions.
   4
   5   ABA Section of Business Law, Corporate Director's Guidebook Fifth Edition,
   6   § 3(C)(4) (2007) (Exhibit A).
   7         Apple’s proposal seeks to exclude outside counsel with service on a
   8   Party’s or a competitor of a Party’s Board of Directors. The reason for this is
   9   because such counsel bear fiduciary duties of disclosure to their Board of
  10   Directors, yet must also abide by their ethical obligations as attorneys to the
  11   protective order. To permit these oft-conflicting commitments unnecessarily
  12   jeopardizes the security of Apple’s most sensitive information.
  13         Plaintiffs seek to invite these very risks by requesting that Mr. Jensen,
  14   member of both Cercacor’s Board of Directors and Masimo’s Board of
  15   Directors of the Masimo Foundation for Ethics, Innovation and Competition in
  16   Healthcare, receive access to Apple’s highly confidential information.
  17   Plaintiffs’ contentions that Mr. Jensen does not make business decisions would
  18   mean that he does not fulfill his obligations to either Board as a director and
  19   thus, cannot mean what they said. Directors are required to make decisions
  20   related to the business of the corporation in order to fulfill their fiduciary
  21   obligations. Mr. Jensen’s duties of disclosure inherent in his service on the
  22   Boards of both Plaintiffs directly fan the flames of the risks created in granting
  23   Mr. Jensen access to Apple’s protected information. The confidential technical
  24   information about Apple’s business which Mr. Jensen learns through an
  25   “attorneys’ eyes only” disclosure constitutes information that would be relevant
  26   to a variety of Plaintiffs’ corporate decisions. As such, Mr. Jensen’s fiduciary
  27   duty to disclose such information would obligate Mr. Jensen to inform the other
  28   directors of Cercacor about any confidential “attorneys’ eyes only” information

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   1   of Apple’s that was also relevant to Cercacor’s corporate decisions.
   2   Accordingly, Courts have recognized that there is direct conflict between
   3   outside counsel’s obligations to abide by a protective order and his simultaneous
   4   fiduciary duty to the corporation as a Board member and have uniformly refused
   5   to allow access by individuals such as Mr. Jensen to the highly
   6   confidential/trade secret information of another party. See Norbrook Labs. Ltd.
   7   v. G.C. Hanford Mfg. Co. 2003 WL1956214, at *5 (N.D.N.Y. Apr. 24, 2003)
   8   (“While the court does not doubt [outside counsel and Board member] Mr.
   9   Heath's assurances that he will abide by the protective order, it cannot endorse a
  10   situation that places Mr. Heath's ethical obligations as an attorney in direct
  11   competition with his fiduciary duty to Hanford); see also Meridian Enters.
  12   Corp. v. Bank of Am. Corp., 2008 WL474326, at *3 (E.D. Mo. Feb. 15, 2008)
  13   (finding “that the risk of inadvertent disclosure is great because Mr. McMullin
  14   is both a shareholder of [Plaintiff] and a member of its Board of Directors, and
  15   therefore has a fiduciary duty to [Plaintiff] to disclose all information in his
  16   possession germane to issues discussed”).
  17         To the extent Plaintiffs may argue that they have no interest in Apple’s
  18   underlying technology, that is false. Plaintiffs’ contention is belied by the fact
  19   that Cercacor sells a device that “measures hemoglobin” and “are synced via
  20   Bluetooth to an app which can display trends over time.” See Medgadget @
  21   CES 2016: Cercacor’s Ember Non-Invasive Hemoglobin Sensor, Scott Jung,
  22   Medgadget (Jan. 8, 2016), https://www.medgadget.com/2016/01/medgadget-
  23   ces-2016-cercacors-ember-non-invasive-hemoglobin-sensor.html;         see    also
  24   Athletes can know their hemoglobin instantly with Ember (Jan. 18, 2016),
  25   https://www.sportswearable.net/athletes-can-know-their-hemoglobin-instantly-
  26   with-ember/ (“Cercacor has produced a wearable which will provide you with
  27   real-time data.”). Plaintiffs’ product is designed to interact with Apple’s iPhone
  28   and the accused Apple Watch also interacts with the iPhone. The likelihood of

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   1   future overlap between the technology that the accused products practice and
   2   those of the products that Plaintiffs sell is increasing.    Indeed, Cercacor’s
   3   product and the Apple Watch are both wearables and are targeted to the
   4   consumer market. The wearable market is growing, especially as it relates to
   5   health-related applications. It is incredibly unfair and prejudicial for Cercacor
   6   to have a member of its Board of Directors with a fiduciary duty to steer that
   7   company in the right direction to have had access to Apple’s highly confidential
   8   technical, financial, and source code information.
   9         Assume, for example, that Cercacor is considering introducing a new
  10   feature that technical documentation from Apple shows to have been rejected as
  11   unsuccessful. By virtue of his access to Apple’s highly confidential financial,
  12   technical, and source code information, Mr. Jensen knows that Apple has
  13   already rejected that feature as being unworkable. As a result, Mr. Jensen,
  14   sitting in the Board meeting considering the issue, knows that Cercacor will be
  15   wasting million dollars if it proceeds.      Does he tell the Board and the
  16   shareholders? Mr. Jensen has a fiduciary duty to advise the company and at the
  17   same time, a prohibition from disclosing that information under the protective
  18   order in this case. That is why the concern is so acute for Board members. As
  19   explained in Norbrook Labs, Board members and those with competitive
  20   decision-making should be denied access to Apple’s “attorneys’ eyes only”
  21   highly confidential technical, financial, and source code information. 2003
  22   WL1956214, at *5.
  23         And where source code is involved, the risk is even greater. Indeed,
  24   Plaintiffs cite no cases in this court or the Federal Circuit where Board members
  25   of a reviewing party are subsequently allowed to view a competitor’s guarded
  26   technical information.
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   1                       iii.   The Risk Of Inadvertent Disclosure of Apple’s
   2                              Confidential Information Outweighs Harm To
   3                              Plaintiffs, If Any
   4         This litigation involves sensitive and highly confidential technology
   5   present in the Accused Products (the Apple Watch Series 4 and 5). Thus, the
   6   confidential technical documents at issue is information that Apple must be
   7   careful not to allow to fall into the hands of those that may be interested in
   8   developing products that may compete with or otherwise exploit the technology
   9   in the Accused Products or drafting patent claims to read on those products.
  10   Any disclosure or improper use of Apple’s confidential information by
  11   Mr. Jensen or any outside counsel, even if inadvertent, would severely harm
  12   Apple by revealing its proprietary technology. Indeed, Apple could lose the
  13   entire competitive advantage offered by its proprietary features if its source code
  14   were disclosed.
  15         We emphasize, of course, that our concern is inadvertent disclosure. We
  16   do not question Mr. Jensen’s integrity as an officer of the court. But as the
  17   Federal Circuit has stated, “[i]nadvertence, like the thief-in-the-night, is no
  18   respecter of its victims.” U.S. Steel Corp., 730 F.2d at 1468. Where counsel is,
  19   like Mr. Jensen, an integral part of his client's litigation licensing enterprise, and
  20   is exposed to confidential information that may aid in advancing that enterprise,
  21   “compartmentalization of protected information is . . . ‘a feat beyond the
  22   compass of ordinary minds.’” Autotech, 237 F.R.D. at 408 (quoting Shepard v.
  23   United States, 290 U.S. 96 (1933)). Or, to put it more bluntly: “once knowledge
  24   has been gained, a person cannot perform a prefrontal lobotomy on himself.”
  25   Id. at 408 n.3.
  26         The issue of inadvertent disclosure can take on additional significance in
  27   cases involving patents and trade secrets when the firm representing a party in
  28   litigation matters also represents the party in patent prosecution and other

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   1   intellectual property matters related to patent prosecution. See In re Deutsche
   2   Bank Tr. Co. Ams., 605 F.3d 1373 (Fed. Cir. 2010). While Mr. Jensen says that
   3   he no longer is involved in patent prosecution for Plaintiffs, his partners and
   4   associates are. He works regularly with those colleagues in patent litigation
   5   matters and the risk of inadvertent disclosure within his firm is thus a significant
   6   concern. For attorneys involved in “making strategic decisions on the type and
   7   scope of patent protection that might be available or worth pursuing, . . .
   8   competitive decisionmaking may be a regular party of their representation.” Id.
   9   at 1380. In such instances, “the risk of inadvertent disclosure of competitive
  10   information learned during litigation is therefore much greater.” Even where an
  11   attorney is not directly involved in patent prosecution, these attorneys may have
  12   “the opportunity to influence the direction of prosecution,” and the risk of
  13   inadvertent disclosure may nonetheless arise. Id.
  14         In short, granting Mr. Jensen unrestricted access to confidential
  15   information about Apple’s methods and systems would expose Apple to endless
  16   litigation, even if Mr. Jensen conducts himself entirely in good faith.
  17         By contrast, denying Mr. Jensen access to confidential information would
  18   impose no significant harm on Plaintiffs. Plaintiffs retain highly competent
  19   outside counsel to conduct their litigation, and have more than adequate
  20   resources to retain additional counsel if they deem it necessary. Plaintiffs have
  21   other highly competent counsel that have been involved in this case since its
  22   beginning (and even in previous cases). Indeed, Mr. Jensen is not designated as
  23   lead counsel—that is the role of Mr. Joseph Re. The availability of competent
  24   outside counsel is typically sufficient to defeat any claim that exclusion of in-
  25   house counsel would unduly prejudice the nonmoving party.             See, e.g., A.
  26   Hirsch Inc. v. United States, 657 F. Supp. 1297, 1305 (Ct. Int'l Trade 1987) (“in
  27   view of retained counsel’s competence, it is not clear how plaintiffs' position
  28   will be prejudiced by excluding [in-house] counsel from access”); Brown Bag

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   1   Software, 960 F.2d at 1471 (finding no prejudice where outside counsel had
   2   sufficient time and resources to review confidential materials and was
   3   competent).    The balance of hardships, therefore, strongly favors denying
   4   Mr. Jensen access to Apple’s confidential information.
   5                 b.   Apple’s Provision Providing Trade Secrets to its In-
   6                      House Counsel
   7         Plaintiffs argue that Apple’s proposal would result in a one-sided
   8   approach whereby its in-house counsel would receive access to Plaintiffs’
   9   alleged trade secrets and Plaintiffs’ in-house counsel would not receive the
  10   same. But by nature of their trade secret misappropriation claim, Plaintiffs have
  11   alleged that Apple already has possession of their trade secrets.9 If Plaintiffs’
  12   trade secret information is already in Apple’s possession, as Plaintiffs contend,
  13   then Plaintiffs should have no qualms about sharing that information with the
  14   persons at Apple directly involved in the defense of this lawsuit. And as Apple
  15   has explained repeatedly, a very limited number of Apple’s in-house counsel
  16   need access to this information in a case where Plaintiffs have asserted a
  17   serious, high exposure claim of trade secret misappropriation against the
  18   company. Contrary to Plaintiffs’ assertions, the competence of Apple’s outside
  19   counsel does not absolve in-house counsel’s need for access to this information.
  20         Apple’s in-house counsel is integrally involved in the defense of this
  21   lawsuit. They need to know the purported trade secrets that Plaintiffs contend
  22   were misappropriated (to the extent Plaintiffs replead that any purported trade
  23   secrets were in fact misappropriated by Apple) in order to advise on strategy—
  24   and, more importantly, to guide document collection and production, which
  25
             9
  26             Of course, Apple recognizes that the trade secret claim has been
       dismissed from this case. However, because the claim was dismissed with leave
  27
       to replead, Apple wants to make sure that this protective order adequately serves
  28   its interests and needs in the event the claim is repleaded.

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